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         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY

         WOLLMUTH MAHER & DEUTSCH LLP                                                    Order Filed on December 17, 2021
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                                                                                         District of New Jersey
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         (Admitted pro hac vice)
         PROPOSED ATTORNEYS FOR DEBTOR
         In re:                                                          Chapter 11
         LTL MANAGEMENT LLC, 1                                           Case No.: 21-30589 (MBK)
                                                                         Judge: Michael B. Kaplan
                                     Debtor.

                  AMENDED ORDER AUTHORIZING INTERIM RETENTION OF
             WEIL, GOTSHAL & MANGES LLP AS THE DEBTOR’S SPECIAL COUNSEL

         The relief set forth on the following pages, numbered two (2) through four (4), are hereby
     ORDERED.



DATED: December 17, 2021




     1
                  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
                  501 George Street, New Brunswick, New Jersey 08933.
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        Upon the applicant’s, LTL Management LLC (the “Debtor” or “LTL Management”), 2
 request for authorization to retain Weil, Gotshal & Manges LLP (“Weil”) as special counsel to
 the Debtor, nunc pro tunc to October 14, 2021 (the “Application”), and the supplemental
 certification (the “Supplemental Certification”) in support of the Application, filed on
 December 10, 2021, and the U.S. Trustee having objected to the approval of this Interim Order,
 and the Court having overruled the objection, it is hereby ORDERED:

 1.      The Debtor is authorized, on an interim basis, to retain Weil in the professional capacity
         noted in the Application. Such interim retention shall be effective as of October 14,
         2021.
         The professional’s address is:             Weil, Gotshal & Manges LLP
                                                    767 Fifth Avenue
                                                    New York, New York 10153

 2.     The Court does not make any findings of fact and, except as set forth in Paragraph 1
        above, does not reach any conclusions of law respecting the Application. For the
        avoidance of doubt, the Court does not make any findings or reach any conclusion as to
        whether Weil “does not represent or hold any interest adverse to the [D]ebtor or to the
        [Debtor’s] estate with respect to the matter on which [Weil] is to be employed,” as such
        phrase is used in Section 327(e) of the Bankruptcy Code. The rights of any party in
        interest to raise any issue of fact or law pertaining to Weil and the Application are fully
        preserved, including, without limitation, that (i) Weil is not eligible for retention under
        section 327(e) of the Bankruptcy Code; and (ii) that Weil is not “disinterested” or does
        not “hold or represent an interest adverse to the estate” (as such terms are used in section
        327(a) of the Bankruptcy Code).

 3.     The Court shall hold a final hearing on the Application and the objection to the
        Application filed by the Talc Committee, (the “Objector”) on January 11, 2022 at 10:00
        a.m. prevailing Eastern time, or such other date and time as the Debtor and the Objector
        may agree or is acceptable to the Court (the “Final Hearing”). Weil may file any reply
        and supplemental declaration in support of the Application by no later than 5:00 p.m.


 2
        Capitalized terms used herein but not defined shall have the meaning given to such terms in the
        Application.
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        Eastern on January 4, 2022. The Objector may file a surreply by no later than 5:00 p.m.
        Eastern on January 7, 2022.

 4.     No party shall use this Interim Order to assert res judicata, collateral estoppel, waiver,
        acquiescence, “law of the case,” or any other similar doctrines. For the avoidance of
        doubt, this Interim Order shall not preclude any party from requesting or receiving
        authority from the Court to prosecute estate claims against Weil, or any party from
        opposing any such request, and Weil may not rely on this Interim Order to preclude any
        such motion or ruling.

 5.     Weil shall file monthly, interim and final fee requests for allowance of compensation and
        reimbursement of expenses pursuant to the procedures set forth in Sections 330 and 331
        of the Bankruptcy Code, applicable Bankruptcy Rules and the Local Bankruptcy Rules,
        the U.S. Trustee Guidelines (as defined below), and any other applicable procedures and
        orders of this Court, including any order approving interim compensation procedures.
        The rights of any party in interest to object to any such fee request, and the right of Weil
        to respond to any such objection, are fully preserved. For any period prior to the Final
        Hearing, no party shall object to Weil’s monthly or interim fee applications based on the
        interim nature of this Order or the absence of findings herein, but may object on any
        other ground.

 6.     All fees and expenses paid to Weil prior to the Final Hearing are subject to disgorgement
        in the event the retention of Weil is denied. To the extent Weil’s retention is approved,
        the Interim Compensation order shall apply to any and all fees and expenses paid to Weil.

 7.     Notwithstanding anything to the contrary in the Application and the Supplemental
        Certification, all parties-in-interest have the right to object to any allocation of fees and
        expenses as between the Debtor and J&J and/or any non-Debtor affiliates.

 8.     Weil shall bill only 50% for its services for non-working travel.

 9.     Weil shall not seek reimbursement of any fees or costs, including attorney fees and costs,
        arising from the defense of any of Weil’s fee applications in this case.
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 10.    Weil will agree to make a reasonable effort to comply with the U.S. Trustee’s requests
        for information and additional disclosures as set forth in the Guidelines for Reviewing
        Applications for Compensation and Reimbursement of Expenses Filed under 11 U.S.C.
        § 330 by Attorneys in Larger Chapter 11 Cases Effective as of November 1, 2013
        (the “U.S. Trustee Guidelines”). The rights of any party in interest to seek information
        from Weil, including with respect to the Application, fee requests or any other matter or
        adversary proceeding arising in the case, are fully preserved.

 11.    Weil shall provide any and all monthly fee statements, interim fee applications, and final
        fee applications in “LEDES” format to the U.S. Trustee.

 12.    If the professional requested a waiver as noted below, it is ☐ Granted ☐ Denied.

        ☐ Waiver, under D.N.J. LBR 2014-2(b), of the requirements of D.N.J. LBR 2016-1.

        ☐ Waiver, under D.N.J. LBR 2014-3, of the requirements of D.N.J. LBR 2016-1 in a
        chapter 13 case. Payment to the professional may only be made after satisfactory
        completion of services.
